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                                   7
                                       Additional Counsel Listed On Signature Page
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                                   9
                                                              IN THE UNITED STATES DISTRICT COURT
                                  10                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                     SAN FRANCISCO DIVISION
                                  11
                                  12    STRAIGHT PATH IP GROUP, INC.,
Northern District of California




                                                                                          Case No. C 16-03463 WHA
 United States District Court




                                  13                          Plaintiff,                  Case No. C 16-03582 WHA

                                  14           v.                                             JOINT STATUS REPORT REGARDING
                                                                                              ATTORNEY’S FEE AWARD
                                  15    APPLE INC.,

                                  16                          Defendant.

                                  17
                                  18    STRAIGHT PATH IP GROUP, INC.,

                                  19                          Plaintiff,

                                  20           v.

                                  21    CISCO SYSTEMS, INC.,

                                  22                          Defendant.

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                                   1          On May 19, 2020, the Court issued an Order adopting Special Master Matt Borden

                                   2   recommended awards of attorney’s fees payable to Defendants Apple Inc. and Cisco Systems, Inc

                                   3   (“Fees Order”).

                                   4          The Court further ordered the parties to provide status reports at thirty-day intervals

                                   5   regarding the awarded fees until the fees were paid. During the pendency of Plaintiff’s appeal of

                                   6   the Fees Order, the parties inadvertently failed to provide the regular status reports. As Plaintiff

                                   7   has exhausted all appeals and the fees have not been paid, the Parties resume these status reports.

                                   8          Plaintiff appealed the Fees Order as to both Apple and Cisco, which was docketed on July

                                   9   6, 2020. Briefing on the appeal concluded on January 19, 2021. The Federal Circuit held oral

                                  10   argument on May 7, 2021. The Federal Circuit summarily affirmed the Fees Order on May 11,

                                  11   2021. The Mandate issued May 17, 2021. (Dkt. No. 262 in 3:16-cv-03463-WHA.) Plaintiff’s

                                  12   time to appeal to the U.S. Supreme Court expired on August 9, 2021.
Northern District of California
 United States District Court




                                  13          Plaintiff has not executed payment to Cisco on the Court’s judgment of attorneys’ fees of

                                  14   $1,920,146. On July 16, 2020, Cisco filed an Application for Writ of Execution (Dkt. No. 253 in

                                  15   3:16-cv-03463-WHA) and served Cisco’s First Set of Interrogatories to Straight Path Pursuant to

                                  16   Fed. R. Civ. P. 69 and Cal. Civ. Proc. § 708.020. The Clerk issued the Writ of Execution on July

                                  17   21, 2020. (Dkt. No. 255 in 3:16-cv-03463-WHA.) A second Writ of Execution in the Northern

                                  18   District of California issued on October 18, 2020, to address changes to Plaintiff’s name. (Dkt.

                                  19   No. 259 in 3:16-cv-03463-WHA.) On November 13, 2020, the State of New Jersey entered the

                                  20   Judgment awarding fees. On July 26, 2021, the Clerk of the Superior Court of New Jersey issued

                                  21   a Writ of Execution. On August 9, 2021, Cisco provided the New Jersey Writ to the Sheriff of

                                  22   Hudson County, NJ, to freeze assets belonging to Straight Path. Cisco has not yet been able to

                                  23   access the assets in New Jersey. A third Writ of Execution in the Northern District of California

                                  24   issued on September 3, 2021. (Dkt. No. 264 in 3:16-cv-03463-WHA.) Despite attempts at

                                  25   communicating with Plaintiff’s counsel, Cisco has not received any payments owed to date nor

                                  26   been provided a date certain that payment will be received.

                                  27          Plaintiff has not executed payment to Apple on the Court’s judgment of attorneys’ fees of

                                  28                                                     1
                                       JOINT STATUS REPORT REGARDING ATTORNEY’S FEES
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1    $2,334,054. Nor has Plaintiff secured a supersedeas bond.

2
3    Dated: September 27, 2021

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     JOINT STATUS REPORT REGARDING ATTORNEY’S FEES
     CASE NOS. C 16-03582 WHA, C 16-03463
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                                   1                                       Attestation of Concurrence

                                   2          I hereby attest that concurrence in the filing of the document has been obtained from each
                                   3   of the other signatories, which shall serve in lieu of their signatures on the document.
                                   4
                                   5                                                 /s/ Brian D. Ledahl
                                                                                          Brian D. Ledahl
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Northern District of California
 United States District Court




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                                   1                                    CERTIFICATE OF SERVICE
                                   2          I hereby certify that on September 27, 2021 the foregoing document described as was filed
                                   3   electronically via the Court’s Electronic Case Filing System (ECF). Notice of the filing is being
                                   4   served via ECF upon all counsel who have consented to electronic service.
                                   5

                                   6                                                        /s/ Brian D. Ledahl
                                                                                            Brian D. Ledahl
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Northern District of California
 United States District Court




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                                       JOINT STATUS REPORT REGARDING ATTORNEY’S FEES
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